
971 So.2d 1044 (2008)
A.C., a juvenile, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D07-1467.
District Court of Appeal of Florida, Third District.
January 23, 2008.
Bennett H. Brummer, Public Defender, and Shannon P. McKenna, Assistant Public Defender, for appellant.
Bill McCollum, Attorney General, and Heidi Milan Caballero, Assistant Attorney General, for appellee.
Before SHEPHERD, SUAREZ, and LAGOA, JJ.

On Confession of Error
SUAREZ, J.
A.C. appeals the trial court's imposition of twenty dollars in costs pursuant to section 775.083(2), Florida Statutes (2006). Based on the State's Confession of Error we reverse this portion of the trial court's imposition of costs and remand for the trial court to delete the twenty dollars in costs.
Reversed and remanded.
